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IN THE UNITED STATEs DIsTRIcT coURT ,
FoR THE NoRTHERN DISTRICT oF Ti§xAs *J@'* l f 29’3

FORT WORTH DIVISION . . ,, t , …
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UNITED STATES OF AMERICA `DE§BY"_""_`

v. NO. 4;18-MJ- (pL/Q`,

ADRIAN ANTHONY MARTINEZ (01)

 

 

 

 

CRIMINAL COMPLAINT
I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

From on or about September 19, 2018, through on or about September 25, 2018, in
the Fort Worth Division of the Northern District of Texas, the defendant, Adrian
Anthony Martinez, using a means or facility of interstate or foreign commerce, that is a
cellular phone and/or computer connected to the internet, did knowingly attempt to
persuade, induce, and entice an individual who had not attained the age of eighteen (18)
years, to engage in sexual activity for which a person can be criminally charged under
Texas state law, that is a violation of Texas Penal Code Section 22.01 l(a)(Z), Sexual
Assault of a Child.

In violation of 18 U.S.C. § 2422(b).

INTRODUCTION
l. l am a Special Agent with the F ederal Bureau of Investigation (FBI), Dallas
Division and have been employed as a Special Agent of the FBI since April 2004. As a
federal agent, l am authorized to investigate violations of laws of the United States and to
execute warrants issued under the authority of the United States. l am currently assigned
to a Child Exploitation Task Force, wherein my duties and responsibilities include

investigating criminal violations relating to the sexual exploitation of children (SEOC). I

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have gained expertise in these types of investigations through training in seminars,
classes, and my everyday work. In addition, l have received specialized training in the
investigation and enforcement of federal child pornography laws in which computers are
used as the means for transmitting, collecting and storing child pomography.

2. The information contained in this affidavit is based on my personal
knowledge and experience, my own investigation, and information provided by other law
enforcement officers and/or agents. Since this affidavit is being submitted for the limited
purpose of securing an arrest warrant, I have not included each and every fact known to
me concerning this investigation l have set forth only the facts that l believe are
necessary to establish probable cause to believe that Adrian Anthony Martinez
committed a violation of 18 U.S.C. § 2422(b).

OVERVIEW OF INVESTIGATION

3. On September l9, 2018, a Texas Department of Public Safety (DPS) officer
acting in an undercover capacity (UCl) created an account on the social media
application Skoutl. UCl created a profile under the name “Katie” (hereafter referred to
as KATIE) and attached an age-regressed image of a female law enforcement officer to

the profile. UCl created the profile but did not post anything and let the account sit idle.

 

1 Skout is a location-based social networking and dating mobile application and website. The application allows
users to communicate with each other via instant messaging. It runs on iOS and Android platforms and is a free
download from the Apple App Store and Google Play platforms

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4. That evening, a Skout user with the profile “Adrian” (hereafter referred to

as ADRIAN) contacted KATIE and said he was “looking for a fwb2 to be honest.”

ADRIAN then asked KATIE to communicate with him via text message at xxx-xxx-

8073.

5. On September 20, 2018, KATIE contacted ADRIAN via text message. The

first texts of the conversation are as follows:

KATIE:

ADRIAN:

KATIE:

ADRIAN:

KATIE:

ADRIAN:

KATIE:

ADRIAN:

KATIE :

ADRIAN:

Hi

Hello what is yr name and where r u
Katie. Fort Worth

What ru looking for

How old r u

I am game for whatever u r

About to be 15. U?

A fuck buddy

44

Cool

R u a virgin

Never been with someone that older but l do like older guys
What part of town r u in

What is the oldest

 

2 “fwb” is commonly used in the sexual chat community to mean “friends with benefits” meaning friends that have

S€X.

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KATIE: Riverside

ADRIAN: Send a pic

KATIE: Ok. But u first.

At this point in the conversation, ADRIAN replied with a facial photograph The
person depicted in the photograph is an adult male and is similar to the person on
ADRIAN’s Skout profile picture.

6. UCl took ADRIAN’s photograph and queried it through the DPS Image
Verification System (IVS). The IVS matched ADRIAN’s photo to a driver’s license for
Adrian Martinez, who is 44 years old. This driver’s license image is similar to the
photo on ADRIAN’s Skout profile and the photo he sent to KATIE. Adrian Martinez
also put the phone number xxx-xxx-8073 on his driver’s license application

7. The conversation continued on September 20, 2018:

ADRIAN: How big is ur chest. Bra size

KATIE: 2 young 4 u?

l am embarrassed to say

ADRIAN: Tell me

Age depends on what u want
KATIE: l am open to whatever
ADRIAN: l knw. So how big

Bra size

l love all sizes breasts

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KATIE: A. Pretty much flat. Don’t laugh
ADRIAN: No reason too
When did u last have sex
KATIE: 4 months ago. U?
But it wasn’t enjoyable
ADRIAN: Was that ur first time
KATIE: Yes
ADRIAN: U want more
KATIE: Only if you go easy and not rough like the last ahole
ADRIAN: l will
KATIE: U said ur looking for a fuck buddy
ADRIAN: Yes true. What time do u normally get put of school
KATIE: 430
ADRIAN: Gk. Would you skip school to fuck
8. On Sunday, September 23, the conversation continued in part:
ADRIAN: U still want to fuck
KATIE: Yeah. As long as u don’t hurt me. If l say stop U have to stop ok?
Maybe l can skip this week. When u off
ADRIAN: Yes I will l am working but we can set it up

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KATIE:

ADRIAN:

KATIE:

ADRIAN:

You have protection ri ght?
Yes l do
Let me know what days work best and l will see what l can workout

Tues afternoon

KATIE and ADRIAN then agreed to meet on September 25, 2018, at a Quik Trip

gas station located in Haltom City, Texas. The conversation continued on September 24,

2018:

KATIE:

ADRIAN:

KATIE:

ADRIAN:

KATIE:

ADRIAN:

KATIE :

ADRIAN:

KATIE:

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I will look up the qt address later. It’s close to my school
If we stay in ur car a dress

Sounds good no panties

No panties

l l:15 ish?

Yes l don’t want u to wear panties

Ok

Oh ok. Lol

U like to be called names

Sure. Surprise me lol

U ok w slut whore cunt

Wow. Never been called that but if that turn u on ok.

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9. On September 25, 2018, the conversation continued, and ADRIAN asked
KATIE to send a selfie then sent one of himself to her. ADRIAN’s selfie is similar to
other pictures of ADRIAN and to the driver’s license for Adrian Martinez. In the
picture, ADRIAN is wearing a lanyard with some text and an image of a young boy’s
face on it.

10. On September 25, 2018, at approximately 11:15-a.m., Adrian Martinez
arrived at the agreed location in Haltom City, Texas. He was wearing the same shirt as
seen in the selfie picture sent to KATIE earlier in the day. Martinez looked around Quik
Trip for a few minutes then left the building without buying anything Upon departing
the building, DPS officers arrested him.

ll. A search of the car Martinez was driving revealed five condoms and
credentials identifying Adrian Martinez as an employee of the Texas Department of
Family Protective Services (DFPS). Also found in the car was the lanyard with the image
of the young boy as seen in the selfie picture earlier that day.

12. Martinez consented to be interviewed and stated that he is employed as a
CPS Conservatorship for the DFPS. He identified a Samsung cellular phone using phone
number xxx-xxx-8073 as his personal cellular phone and stated he used that phone to
communicate with KATIE.

13. Gn September 26, 2018, Martinez consented to a second interview.

Martinez stated that at the time of his arrest he was actively chatting with five to six

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underage females. He further admitted that, in his 30’s, he had sex with a 16-year-old
girl at her house when her mother was not home.

14. I have conducted a preliminary forensic analysis of the phone seized from
Martinez (a Samsung Galaxy Note 8 cellular phone model SM-N950U) and observed the
complete chat string between ADRIAN and KATIE on the device. “MANUFACTURED
IN CHINA” is stamped on the back of the device.

CONCLUSION

15. Based on the foregoing facts and circumstances, there is probable cause to
believe that from on or about September 19, 2018, through on or about September 25,
2018, in the Northern District of Texas, Adrian Martinez using a facility or means of
interstate or foreign commerce, knowingly attempted to persuade, induce, and entice a
person who had not attained the age of eighteen (18) years, to engage in any sexual

activity for which any person can be charged with a criminal offense, in violation of 18

U.s.C. § 2422(b).

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Christopher W. Thompson
Special Agent
Federal Bureau of lnvestigation

Subscribed and sworn before me this \'Z day of October 2018 m Fort Worth,

Texasat 3` ~_S_>__§ p..m

JEFF URETON
Unit St es Magistrate Judge

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